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8                                   UNITED STATES DISTRICT COURT

9                                   EASTERN DISTRICT OF CALIFORNIA

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11   GENERAL SECURITY SERVICES                      No. 1:11-CV-00724-MJS
     CORPORATION,
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                       Plaintiff,
13                                                  ORDER RE: DISPOSITIVE DOCUMENTS
            v.                                      AFTER NOTICE OF SETTLEMENT
14
     COUNTY OF FRESNO;
15
                       Defendant.                   DISPOSITIVE DOCUMENTS SHALL BE
16                                                  FILED WITHIN 30 DAYS .
17                                                  (ECF. 60)
18

19          On December 11, 2013, Defendant , County of Fresno, notified the Court that the

20   parties to the above captioned matter had agreed to settle it in its entirety. In

21   accordance with the provisions of Local Rule 160 (Fed. R. Civ. P. 16), the Court now

22   orders that all dispositive documents be submitted no later than 30 days from the date of

23   this Order. If the parties conclude they cannot comply with this Order within the time

24   allotted, they shall, before expiration of that time, file a request for extension and include

25   therein their reasons for believing the Order cannot be complied with.

26          Failure to comply with this order may be grounds for the imposition of sanctions

27   against anyone who contributes to its violation.

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                             Case 1:11-cv-00724-MJS Document 61 Filed 12/13/13 Page 2 of 2


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2                               ALL COURT DATES HERETOFORE SET IN THIS MATTER ARE HEREBY

3    VACATED.

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     IT IS SO ORDERED.
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7
                             Dated:   December 12, 2013                /s/   Michael J. Seng
8                                                                   UNITED STATES MAGISTRATE JUDGE
     DEAC _Signature- END:




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